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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 14-0991V
                                      Filed: June 22, 2016
                                         UNPUBLISHED

****************************
ROCHELLE BEAVER,                         *
                                         *
                     Petitioner,         *     Joint Stipulation on Damages;
v.                                       *     Tetanus, Diphtheria, acellular Pertussis
                                         *     (“Tdap”) Vaccine; Shoulder Injury
SECRETARY OF HEALTH                      *     Related to Vaccine Administration
AND HUMAN SERVICES,                      *     (“SIRVA”); Special Processing Unit
                                         *     (“SPU”)
                     Respondent.         *
                                         *
****************************
Ronald Homer, Conway, Homer, & Chin-Caplan, P.C., Boston, MA, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On October 15, 2014, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). On December 5, 2014, petitioner filed an amended petition, clarifying
the specific vaccination received by petitioner. Petitioner alleges that she suffered a
shoulder injury related to vaccine administration (“SIRVA”) resulting from the tetanus-
diphtheria-acellular-pertussis (“Tdap”) vaccine she received on October 26, 2011.
Amended Petition at 1, ¶¶ 1, 3. Petitioner further alleges that she received the
vaccination in the United States and that no lawsuits have been filed or settled by
petitioner or any other person. Id. at ¶¶ 5-6. “Respondent denies that the Tdap
immunization is the cause of petitioner’s alleged shoulder injury, or any other injury or
condition.” Stipulation, filed June 22, 2016, at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on June 22, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $55,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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